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                    Notes of Assistant Director of Counterintelligence E.W. Priestap
                                            Dated 01/24/2017
                                         Document ECF 198-11



DD
[REDACTED]                                                                                              EP
                                                                                                1/23/2017
                                                                              [4 written over the 3 in pen]
        We have a case on Flynn+ Russians                    Admins
        Our goal is to resolve case                          Economic emphasis – could be good for CI
        Our goal is to determine if Mike Flynn is             efforts [U/I] CP
         going to tell the truth @ his relationship
         w/Russians                                   Afterwards
        Can quote [REDACTED]
        Shouldn’t [REDACTED]                         I.
                                                              Interview
                                                              I agreed yesterday that we shouldn’t show
[REDACTED]                                                     Flynn [REDACTED] if he didn’t admit
                                                              I thought @ it last night, + I believe we
Review on stand-alone                                          should rethink this
                                                              What’s our goal? Truth/Admission or to
                                                               get him to lie so we can prosecute
                                                               him or get him fired?
                                                              We regularly show subjects evidence, with
                                                               the goal of getting them to admit
                                                               their wrongdoing
                                                              I don’t see how getting someone to
                                                               admit their wrongdoing is going
                                                               easy on him
                                                              If we get him to admit to
                                                               breaking the Logan Act, give facts
                                                               to DOJ and have them decide
                                                              Or, if he initially lies, then we
                                                               present him [REDACTED] + he admits
                                                               it, document for DOJ, + let them
                                                               decide how to address it.
                                                              If we’re seen as playing games, WH
                                                               will be furious
                                                              Protect our institution by not playing
                                                               games.

                                                      [REDACTED]
